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 5                        UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF CALIFORNIA

 7

 8   UNITED STATES OF AMERICA,            No.   2:12-cr-49-GEB
 9                 Plaintiff,             ORDER GRANTING DEFENDANT’S TWO
                                          SEALING REQUESTS
10        v.
11   MICHELLE TROUNG,
12                 Defendant.
13

14               On December 13, 2016, Defendant filed on the public

15   docket a “Notice of Request to Seal Documents,” in which she

16   seeks to file under seal the supplement to the plea agreement.

17   On December 15, 2016 Defendant sent an email to chambers in which

18   she attached a “Request To Seal Documents,” which she also seeks

19   to be filed under seal.

20               Defendant’s two sealing requests are granted based on

21   Defendant’s assertions.

22   Dated:    December 15, 2016

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